409 F.2d 412
    John P. SHALE, Petitioner,v.UNITED STATES of America, Respondent.
    Misc. No. 1296.
    United States Court of Appeals Fifth Circuit.
    April 7, 1969.
    
      John Paul Howard, Jacksonville, Fla., for petitioner.
      Gary B. Tullis, Asst. U. S. Atty., Jacksonville, Fla., for respondent.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    
      1
      The district court has failed to make findings of facts and conclusions of law following an evidentiary hearing, as is required by Rule 52, F.R.Civ.P.; Welch v. Beto, 5 Cir. 1968, 400 F.2d 582; Waters v. Beto, 5 Cir. 1968, 392 F.2d 74. Therefore, the case is remanded to enable the district court to state its findings of fact and conclusions of law. The motion for bail pending appeal is denied.
    
    